Case 1:24-cv-01799-FB-MMH Document 4 Filed 03/12/24 Page 1 of 1 PageID #: 21




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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SQRL HOLDINGS LLC and SQRL SERVICE
STATIONS LLC,                                                                    CASE NO. 24-cv-1799 FB-MMH

                                   Plaintiffs,
v.
                 -against-

MR. ADVANCE LLC,

                                      Defendant.
------------------------------------------------------------------x

                                   SUMMONS IN A CIVIL ACTION
TO DEFENDANT:                      MR. ADVANCE LLC
                                   3110 37TH Avenue, #202
                                   Long Island City, NY 11101

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) – or
60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) – you must serve on the plaintiffs an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiffs or plaintiffs’ attorney, whose
name and address are:

David T. Azrin, Esq,
Gallet, Dreyer & Berkey, LLP
845 Third Avenue, Fifth Floor,
New York, NY 10022

If you fail to respond, judgment by default will be entered against you for the relief demand in
the complaint. You also must file your answer or motion with the court.

                                                                       BRENNA B. MAHONEY
                                                                       CLERK OF COURT
                                                                       s/Kimberly Davis
Date:       3/12/2024
                                                                       Signature of Clerk or Deputy Clerk
